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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                             :      CHAPTER 7
                                                   :
CASSANDRA JOHNSON LANDRY,                          :      CASE NO. 18-55697-LRC
                                                   :
          Debtor.                                  :


                       NOTICE OF ABANDONMENT OF CERTAIN
                            PROPERTY OF THE ESTATE

          PLEASE TAKE NOTICE that pursuant to 11 U.S.C. § 554(a) and Federal Rule of

Bankruptcy Procedure 6007, S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the above-

captioned estate, proposes to abandon the following described property as burdensome, fully

exempt with no equity, fully encumbered and/or of inconsequential value and benefit to Debtor’s

estate:

                869 Natchez Valley Trace, Grayson, GA 30017
                2969 Sweetbriar Walk, Snellville, GA 30039
                1440 Highland Lake Drive, Lawrenceville, GA 30045
                2001 Mercedes 500CL
                Pistol and ammunition
                Dog, Shih-Tzu
                Alliance for Change Through Treatment, LLC
                Attachment and Bonding Center of Atlanta
                Therapeutic Essentials Inc.
                Licensed Professional Counselor


          PLEASE TAKE FURTHER NOTICE that any objections to this proposed

abandonment must be filed with the Clerk of the United States Bankruptcy Court, 1340 U.S.

Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303 and served upon the Trustee at the
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address shown below within fourteen (14) days from the date of service of this Notice. If no

objection is filed, the proposed abandonment shall be effective as provided in Federal Rule of

Bankruptcy Procedure 6007 without further notice, hearing or order of the Court. If an objection

is timely filed, a hearing thereon will be scheduled with notice provided to the objecting party or

parties, the Trustee, the U.S. Trustee, and the Debtor.

       This 15th day of February, 2019.

                                                          /s
                                                      S. Gregory Hays
Hays Financial Consulting, LLC                        Chapter 7 Trustee
2964 Peachtree Road, NW, Ste 555
Atlanta, GA 30305
(404) 926-0060
